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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 05-60985-CIV~Graham/O’Sullivan
ULYSSES J. HUDSON,
Plaintiff,

V.

MICHAEL CHERTOFF,
as Secretary of the United States
Department of Homeland Security,

Defendant.
/

PLAINTIFF’S SUPPLEMENTAL VERIFIED MOTION FOR AWARD
OF ATTORNEYS’ FEES AND COSTS

Plaintiff Ulysses J. Hudson (“Mr. Hudson”) moves the Court, pursuant to Fed. R. Civ. P.
54(d) and S.D. Fla. L.R. 7.3(A), for a supplemental award of attorneys’ fees and related costs of
$22,370.16 and taxable costs in the amount of $372.56.l This supplemental request (the
“Supplemental Motion”) reflects fees and costs incurred by Mr. Hudson since May l, 2007.2

Mr. Hudson has incurred additional recoverable fees and costs. Mr. Hudson’s counsel
compiled, researched, drafted and filed his Verified Motion for Attorney’s Fees and Costs and
Bill of Costs (the “Verified Motion’). Mr. Hudson hired an attorney’s fee expert, Neil Chonin
(“Mr. Chonin”), Who reviewed the file and submitted an affidavit in support of the Verified

Motion. Mr. Hudson’s counsel also researched, drafted and filed a Reply to Defendant Michael

 

l These taxable costs consist of $372 in photocopies attributable to pleadings and $0.56 in
long distance charges. Mr. Hudson Will file separately a Supplemental Bill of Costs reflecting
these additional taxable costs.

2 Mr. Hudson’s original Verified Motion Was filed on June l, 2007. At the time of filing
the Verified Motion, Hogan & Hartson’s May 2007 bill Was not yet available and therefore Was
not included in the fees and cost sought in the Verified Moiton.

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HOGAN & HARTSON L.L.P., |||| BR|CKELL AVENUE, SU|TE |SOO ' M|AM|, FL 33|3| ¢ TEL. (305) 459-6500 ' FAX(305) 459-6550

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Chertost 29-page Response to the Verified Motion. Finally, Mr. Hudson’s counsel spent a
small amount of time coordinating with Defendant’s counsel for payment on the Final Judgment
awarded to Mr. Hudson.

In support of this Supplemental Motion, Mr. Hudson adopts by reference the
Memorandum of Law in support of its Verified Motion and all of the Exhibits attached to the
Verified Motion, including but not limited to the Declaration of Brian L. Lerner attached as
Exhibit 2 to the Verified Motion, the Declaration of Mr. Chonin attached as Exhibit 5 to the
Verified Motion and the Declaration of Mr. Hudson attached as Exhibit 6 to the Verified Motion.
Mr. Hudson also adopts by reference his Reply in Support of the Verified Motion [D.E. 286], the
Supplemental Declaration of Brian L. Lerner attached hereto as Exhibit 1, and the Supplemental
Declaration of Neil Chonin attached hereto as Exhibit 2.

So that the fees and costs sought by this Supplemental Motion shall be the final fees and
costs sought by Mr. Hudson in this case, and to allow the Court to make a final ruling on the fees
and costs issue, Mr. Hudson does not seek to recoup the fees and costs associated with this
Supplemental Motion and will not seek to recoup the fees and costs associated with any Reply
filed in support of this Supplemental l\/lotion.3

CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.3(A)
I HEREBY CERTIFY that since September l2, 2007 l have been in contact with counsel
for Defendant in an effort to resolve the issues presented in Plaintiff`s Supplemental Verified
Motion to Award Attorneys’ Fees, Expenses and Costs. The parties are attempting to negotiate

the resolution of this Supplemental Motion, but Defendant’s client will not be available to

 

3 In the event that Mr. Hudson’s counsel is required to expend additional fees or costs on

any unforeseen event or appeal, however, Mr. Hudson reserves the right to file a motion seeking
to recoup those fees and costs prior to the execution by this Court of a Final Order on the fees
issue.

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HOGAN & HAF\’TSON |_.L.P., |||| ER|CKELL AVENUE, SU|TE |900 * M|AM|, FL 33|3| ¢ TF_`L. (305) 459-6500 ¢ FAX(305) 459-6550

 

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discuss the matter for another one to three business days. Mr. Hudson desires to file the
Supplemental Motion now, and the parties will immediately notify the court if they are able to

resolve the issues presented.

Respectfully submitted,

s/ Jason Kellogg

Maria Eugenia Ramirez (Fla. Bar No. 349320)
meramirez@hhlaw.com

Brian L. Lerner (Fla. Bar No. 0177202)
bllerner@hhlaw.com

Jason Kellogg (Fla. Bar No. 578401)
jkellogg@hhlaw.com

Mark R. Cheskin (Fla. Bar No. 708402)
mrcheskin@hhlaw.com

HOGAN & HARTSON L.L.P.

Mellon Financial Center

l l l l Brickell Avenue, Suite 1900
Miami, Florida 33131

Telephone: (305) 459-6500
Facsimile: (305) 459-6550

Attorneys for Plaintiff Ulysses J. Hudson
VERIFICATION
Under the penalties of perjury, I declare that I have read the foregoing motion and that, to

the best of my knowledge, the facts stated in it are true.

s/ Brian Lemer
Brian Lerner

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CERTIFICATE OF SERVICE

I hereby certify that on September l4, 2007, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record identified on the attached Service List in the
manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
or in some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.

s/ Jason Kellogg
Jason Kellogg

SERVICE LIST
Hudson v. Chertoff
Case No. 05-60985-Civ-Graham/O’Sullivan
United States District Court, Southern District of Florida

Ann M. St. Peter~Griffith, Esq.

ann. st.peter-griffith@usdoj . gov

United States Attorney’s Office

99 N.E. 4th Street, Suite 300

l\/liami, Florida 33132.

Telephone: (305) 961-9419

Facsimile: (305) 530-7139

Attorneys for Defendant Michael Chertoff

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HOGAN & HAF\’TSON L.L.P., |||| BR|CKELL. AVENUE, SUITE |SOO ' M|AM|, FL 33|3| ' TEL. (305) 459-6500 ' FAX(BOE) 459-6550

